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 1 JAIRO SEQUEIRA
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 2 Valencia, CA 91355                                        3~ i~t ~~lE~-
   Tel.(818)714-4676
 3 Email: soyjairosequeira@gmail.com
                                                   ~~~
   Petitioner, In Pro Per
 4
                          UNITED STATES DISTRICT COURT
 5
                         CENTRAL DISTRICT OF CALIFORNIA
 6
     JAIRO SEQUEIRA,A Citizen of the                 CASE NO: CV13-04332 DMG(FFMx)
 7
     United States of America
                                                    PLAINTIFF'S IZe ~J
 8
                                                    TO STRIKE Exhibit 1 [Doc. No. 138-
           Plaintiff,                               3]; Exhibit 6[Doc. No. 138-6]; Exhibit
 9
                                                    15[Doc. No. 138-8); Exhibit 2[Doc.
           vs.                                      No. 138-13]; Exhibit 1 [Doc. No. 138-
10
                                                    19]; and Exhibit 5[Doc. No. 138-21]
     THE REPUBLIC OF NICARAGUA,a                    Date:
11
     foreign Country; et. al.                       Time:
                                                    Judge: Hon. Dolly M. Gee
12
                  Defendants                        Ctrm:
13

14                                ~~txi n ~~ ~~ ~~~c.~ ~s~

15        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

16'PLEASE TAKE NOTICE that on                                          ,2018 at 9:30 a.m. or as

17 soon thereafter as counsel may be heard by the above-entitled District Court

18 located at 312 North Spring Street, Los Angeles, California, the Plaintiff Jairo

19 Sequeira ("Mr. Sequeira") will and thereby does move this Court to strike the

20 following exhibits:

21                                             1
                         PLAINTIFF'S NOTICE OF MOTION TO STRIKE EXHIBITS
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     1     a)    Exhibit 1 [Doc. No. 138-3] attached to the Declaration of
                 Nicholas M. Renzler [Doc. No. 138-2];
 2

 3         b)    Exhibit 6[Doc. No. 138-6] attached to the Declaration of
                 Ana Teresa Rizo Briceno [Doc. No. 138-5];
 4
          c)     Exhibit 15[Doc. No. 138-8] attached to the Declaration of
 5
                 Ana Teresa Rizo Briceno [Doc. No. 138-5];
 6
          d)     Exhibit 2[Doc. No. 138-13] attached to the Declaration of
 7
                 Aura Lyla Padilla Alvarez[Doc. No. 138-12]
 8
          e)     Exhibit 1 [Doc. No. 138-19J attached to the Declaration of
 9
                 Ivania Fidelia Ochoa Siria [Doc. No. 138-16];
10
          ~j     Exhibit 5[Doc. No. 138-21] attached to the Declaration of
11               Karlos Navarro [Doc. No. 138-20].
12        This motion is made following the telephone conference of counsel pursuant

13 to to Local Rule 7-3, which took place on March 26, 2018. This motion is based

14 on this Notice of Motion, the Declaration of Mr. Jairo Sequeira, on the

15 memorandum of points and authorities, the pleadings and papers on file, and upon

16 such matters as may be presented to the Court at the time of the hearing and all

17 prior pleadings and proceedings had herein. This motion is suitable for decision

18 without oral argument.                         Respectfully submitted.

19 Dated: Apri15,2018                             B      ~..
                                                       RO SEQUEIRA
20                                                    aintiff, in Pro Per.

21
                       PLAINTIFF'S NOTICE OF MOTION TO STRIKE EXHIBITS
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